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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
SHERIDON SHELBY, §
Plaintiff, §
v. § CIVIL AC'I`ION NO. 3:18-CV»0532»B
KWIK KAR/GUIDE STAR §
and KWIK INDUSTRIES §
Defendants. §

ORDER

 

On October 9, 2018, the Court held a hearing on Plaintiff’s Motions for Default ]udginent
(Doc. 31 and Doc. 32), filed on}uly 20, 2018. All parties were present After considering the matter,
the Court dismissed Kwil< Industries from the case (Doc. 41). As Defendant Kwil< Kar/Guide Star»w
represented by Rahil Sajan and Munira Sajan_was present and contested Mr. Sbelby's claims, the
Court finds that good cause exists to set aside the Clerk’s Entry Of Default as to Kwil< Kar/Guide Star.
See Fed. R. Civ. P. 55(c).

As sucb, the Clerl<’s Entry of Default as to Kwil< Kar/Guide Star (Doc. 30) is hereby
VACATED. Kwil< Kar/Guide Star is ORDERED to answer or Otherwise respond to Mr. Sheiby’s
Coinplaint (Doc. 3) on or before Tuesday, October 30, 2018.

To access the electronic documents filed in this case, Kwil< Kar/Guide Star may register with
this Court’s Electronic Case Filing ( ECF) System, available at
bttD://www.txnd.uscourts.gov/ecf»re£istration. The Court’s ECF Help Desk can be reached at either

214»753»2633 or 866»243»2866 if any issues arise. lnforination about filing pro se is available at

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http:[[www.txnd.uscourts.gov{pro»se»litigants; however, parties are advised that entities such as

corporations and partnerships may not appear pro se and instead must be represented by legal
counsel See Southwest Bxpress Co. lnc. u. lnterstate Commerce Commission, 6?0 F.Zd 53, 55 (Sth Cir.
1982) (“Corporations and partnerships, both of which are fictional legal persons, obviously cannot
appear for themselves personally. . . . [T]hey must be represented by licensed counsel.)

rl`he Court directs the Clerk’s office to send a copy of this Order and the Order Granting
Kwil< Industries’ Motion to Vacate Entry of Defaulr and Motion to Dismiss (Doc. 41) by certified
mail to:

Sheridon Shelby

3516 Elsie Faye Heggins
Dallas, TX 75210

Kwil< Kar/Guide Star
c/o former owners Rahil Sajan and Munira Sajan
1502 Milla Ct.
Euless, TX 76039

SO ORDERED.

DATED October 9, 2018

JA J. LE
TE TATES DisTchT JUDGB

 

